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                   UNITED STATES COURT OF APPEALS                      FILED
                          FOR THE NINTH CIRCUIT                         APR 19 2023
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS
SOVEREIGN INUPIAT FOR A LIVING                 No.   23-35226
ARCTIC; et al.,
                                               D.C. No. 3:23-cv-00058-SLG
               Plaintiffs-Appellants,          District of Alaska,
                                               Anchorage
 v.
                                               ORDER
BUREAU OF LAND MANAGEMENT; et
al.,

               Defendants-Appellees,

CONOCOPHILLIPS ALASKA, INC.; et al.,

      Intervenor-Defendants-
      Appellees.


CENTER FOR BIOLOGICAL DIVERSITY; No. 23-35227
et al.,
                                  D.C. No. 3:23-cv-00061-SLG
           Plaintiffs-Appellants, District of Alaska,
                                  Anchorage
  v.

BUREAU OF LAND MANAGEMENT; et
al.,

               Defendants-Appellees,

CONOCOPHILLIPS ALASKA, INC.; et al.,

      Intervenor-Defendants-
      Appellees.


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Before: PAEZ, WATFORD, and FORREST, Circuit Judges.

      Appellees’ motions to file combined and oversized responses to the motions

for injunctive relief (Docket Entry Nos. 13, 15 in No. 23-35226; Docket Entry Nos.

15, 19 in No. 23-35227) are granted.

      The motions of the Alaska Congressional Delegation and Alaska State

Legislature to file an amicus curiae brief (Docket Entry No. 26 in No. 23-35226;

Docket Entry No. 28 in No. 23-35227) in support of appellees’ responses in

opposition to the motions for injunctive relief are granted.

      The motions for injunctive relief pending appeal (Docket Entry No. 5 in No.

23-35226; Docket Entry No. 5 in No. 23-35227) are denied. See Feldman v. Ariz.

Sec’y of State’s Office, 843 F.3d 366, 367 (9th Cir. 2016) (discussing standard for

injunction pending appeal).

      We sua sponte consolidate these appeals. Appeal Nos. 23-35226 and 23-

35227 are consolidated.

      The opening briefs and excerpts of record are due May 2, 2023. The

consolidated answering briefs are due May 30, 2023, or 28 days after service of the

last opening brief, whichever is earlier. The optional reply briefs are due within 21

days after service of the last-served consolidated answering brief. All parties on a

side are encouraged to join in a single brief to the greatest extent practicable. See

Circuit Advisory Committee Note to 9th Cir. R. 32-2.


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